19 F.3d 1430
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.Edgar Byron BYRD, Defendant Appellant.
    No. 93-7281.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 17, 1994.Decided March 31, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Greenville.  William B. Traxler, Jr., District Judge.  (CR-92-320)
      Edgar Byron Byrd, appellant pro se.
      William Glenn Yarborough, III, Asst. U.S. Atty., Greenville, SC, for appellee.
      D.S.C.
      AFFIRMED.
      Before PHILLIPS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his "Motion to Modify Sentence."   Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  United States v. Byrd, No. CR-92-320 (D.S.C. Nov. 3, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We also deny Appellant's "Motion for Joinder of Claims."
      
    
    